Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 1 of 9




                      EXHIBIT A
                           Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 2 of 9
SUMMONS - CIVIL            -
                                                                            STATE OF CONNECTICUT
JD-CV-1 Rev. 4-16
C.G.S.5i-34651-347,
C.G.S.                    51-349, 51-350, 52-45a,
       §§ 51-346, 51-347, 51-349,                                             SUPERIOR COURT                                                                      .
52-48, 52-259,
52-48, 52-259, P.B. § 3-1
               PB. §§ 3-1 through
                          through 3-21,      10-13
                                  3-21, 8-1, 10-13
                                                                                                                                                          www.jud. ct.gov
                                                                                                                                                          www.jud.ct.gov
See other side for instructions
       “X” ifif amount,
       "X"      amount, legal interest or property in   demand, not including
                                                     in demand,        including interest and
1--1   costs is  is less
                    less than $2,500.
                              $2,500.
iv     “X” if
       "X"      amount, legal interest or property in
           if amount,                                in demand, notnot including interest and
v=1    costs is  is $2,500 or more.
❑      "X"
       “X” if
           if claiming                in addition to or in lieu of money or damages.
                claiming other relief in

               officer; BY AUTHORITY OF THE STATE OF CONNECTICUT,
TO: Any proper officer;
TO:                                                               you are hereby commanded to make
                                                     CONNECTICUT, you                                  and legal
                                                                                              make due and legal service of
                            Complaint.
                   attached Complaint.
this Summons and attached
Address of court clerk where writ and other papers
Address                                     papers shall
                                                   shall be filed (Number, street, town and zip code)
                                                            filed (Number,                                       Telephone number of clerk
                                                                                                                 Telephone                         Return Date (Must be a Tuesday)
(C.G.S. §§ 51-346,
(C.G.S.             57-350)
           57-346, 51-350)                                                                                       (With area code)
                                                                                                                 (with
                                                                                                                                                                                      2 018
95
95 Washington         Hartford, CT 06106
   Washington Street; Hartford,                                                                                  (
                                                                                                                 ( 860 )548-2700                   February
                                                                                                                                                   February
                                                                                                                                                          Mon
                                                                                                                                                           Month           —Dalr
                                                                                                                                                                             D3V
                                                                                                                                                                                20 ,, 2
                                                                                                                                                                                       ear
                                                                                                                                                                                     Year
                District
       Judicial District                                          At (Town                              (C.G.S.
                                                                     (Town in which writ is returnable) (C.G S. §§ 51-346, 57-349)
                                                                                                                   57-346, 51-349)                                                  2)
                                                                                                                                                   Case type code (See list on page 2)
                                        ri    G.A.
                                              GA
                                                                  Hartford
p      Housing Session                  "'"'" Number.
                                              Number:             Hartford                                                                          Major: M
                                                                                                                                                           M               Minor: 90
For the
For the Plaintiff(s)                             of:
        Plaintiff(s) please enter the appearance of:
                                                                        (Number, street, town and zip code)
Name and address of attorney, law firm or plaintiff if self-represented (Number,                                                                         number (to be entered
                                                                                                                                                   Juris number        entered by attorney
                                                                                                                                                                                  aftomey only)
Sabatini and
Sabatini and Associates,
             Associates, LLC;                    Newington, CT 06111
                         LLC; One Market Square; Newington,    06111                                                                               052654
Telephone number (with area code)
          number (with                                                                   (If self-represented)
                                                                  Signature of Plaintiff (lf
  860) 667-0839
((860)
                 law firm appearing for the plaintiff,
The attorney or law                                           plaintiff if
                                            plaintiff, or the plaintiff                                     Email address
                                                                                                            Email                                              10-13 (if
                                                                                                                  address for delivery of papers under Section 10-13 (if agreed to)
self-represented, agrees to accept papers
self-represented,                    papers (service) electronically in       ❑   Yes      11 No
                                                                                              No
                          10-13 of the Connecticut Practice
          under Section 10-13
this case under                                       Practice Book.
                                                               Book.

Number of Plaintiffs: I
          Plaintiffs: 1                         Number of Defendants: I
                                                          Defendants: 1                       I     D Form
                                                                                                    0 Form JD-CV-2 attached for additional parties
       Parties
       Parties                 Name (Last,
                                    (Last, First,
                                           First, Middle Initial) and Address of Each
                                                  Middle Initial)                Each party (Number;
                                                                                            (Number; Street; P.O. Box; Town; State; Zip; Country,
                                                                                                             P.O. Box;                   Country, if
                                                                                                                                                  if not
                                                                                                                                                     not USA)
                                                                                                                                                         USA)
         First
        First              Name: MONROE,
                           Name:   MONROE, Scott
                                            Scott                                                                                                                                         P-o1
                                                                                                                                                                                          P-01
       Plaintiff
       Plaintiff                       Deborah Road;
                           Address: 27 Deborah               Locks, CT 06096
                                               Road; Windsor Locks,
    Additional             Name:
                           Name:                                                                                                                                                          P-02
                                                                                                                                                                                          P-02
     Plaintiff
     Plaintiff             Address:

      First
      First                Name:
                           Name:      J.H.O.C., INC.,
                                      J.H.O.C., INC., d/b/a PREMIER TRANSPORTATION; 323 Cash Memorial
                                                      dlbla PREMIER                                            Blvd.; Forest
                                                                                                      Memorial Blvd.; Forest Park,GA
                                                                                                                             Park,GA 30297                                                D-O1
                                                                                                                                                                                          D-01
    Defendant
    Defendant              Address:                     Services, Inc.;
                                                 Incorp Services,
                                        Agent: Incorp             Inc.; 6 Landmark          floor; Stamford,
                                                                          Landmark Sq.; 4th floor; Stamford, CT 06901
                                                                                                                06901
    Additional             Name:
                           Name:                                                                                                                                                          D-02
                                                                                                                                                                                          D-02
    Defendant              Address:

    Additional             Name:
                           Name:                                                                                                                                                          D-03
                                                                                                                                                                                          D-03
    Defendant              Address:
    Additional             Name:                                                                                                                                                          D-04
    Defendant
    Defendant              Address:

          Each Defendant
Notice to Each Defendant
1.
1. YOU
   YOU ARE BEING         SUED. This paper is
                  BEING SUED.                                      lawsuit. The complaint attached
                                              is a Summons in a lawsuit.                                                                        each plaintiff is making
                                                                                             attached to these papers states the claims that each                 making
   against you in this lawsuit.
                         lawsuit.
                               proceedings, you or your attorney must file a form called an "Appearance"
2. To be notified of further proceedings,                                                                        with the clerk of the above-named Court at the above
                                                                                                  ‘Appearance” with
   Court address on or before the second day after the above Return   Return Date.
                                                                              Date. The Return
                                                                                          Return Date
                                                                                                   Date is
                                                                                                        is not a hearing
                                                                                                                 hearing date. You do not   have to come to court on the
                                                                                                                                        not have
   Return    Date unless you
   Return Date                 receive a separate notice telling you to come to court.
                           you receive
3. If   you or your attorney do not file a written "Appearance"
    If you                                                                  time, a judgment may be
                                                   “Appearance” form on time,                        be entered against you by default. The "Appearance"
                                                                                                                                               “Appearance” form may be
   obtained at the Court address above or at www.jud.ctgov
                                                    www.jud.ct.gov under "Court
                                                                             “Court Forms."
                                                                                     Forms.”
4. IfIf you believe that you have insurance that maymay cover the claim that is being made against you               lawsuit, you
                                                                                                         you in this lawsuit, you should immediately
                                                                                                                                          immediately contact your
   insurance representative.                             have to take is described in
                 representative. Other action you may have                            in the Connecticut Practice    Book which may be found in a superior court law
                                                                                                           Practice Book
   library or on-line at www.jud.agov               “Court Rules."
                           WMN.jud.ct.gov under "Court     Rules.”
5.  If you have questions about the Summons and Complaint, you should talk to an attorney quickly. The Clerk of Court is not
5. If                                                                                                                                    not allowed to give advice on
   legal questions.
            questions.
Signed (Sign and "X"““proper
                       proper box) .,/‘/                      17( 1 Commissioner of the     Name of Person
                                                                                            Name     Person Signing
                                                                                                            Signing at Left
                                                                                                                       Left                             Date signed
                                                                    Superior Court
                                                              LI Assistant Clerk            James V. V. Sabatini,
                                                                                                         Sabatini, Esquire                               I -1)188
If
If this Summons is sig   sigpe’’
                              d      a Clerk:
                                       Clerk:                                                                                                                  For Court Use Only
a.
a. The signing
            signing has
                     has)Cenen onene so that        Plaintiff(s) will not be denied access to the courts.
                                           at the Plaintiff(s)                                        courts.                                           File Date
                                                                                                                                                        File
b.
b. ItIt is the res      ibili of th
                res,9.nibilit    th     aintiff(s) to see that service is made in the manner provided by law.
                                       {intiff(s)                                                                law.
c.
c. The Clerk is not  not pe                       legal advice in connection
                                  d to give any legal                connection with any lawsuit.
                                                                                             lawsuit.
d. The Clerk signing this Summons at the request
d.                                                  request of the Plaintiff(s)    is not responsible in
                                                                      Plaintiff(s) is                  in any way for any errors or omissions
              Summons, any allegations contained in the Complaint,
    in the Summons,                                              Complaint, or the service of the Summons or Complaint.



 II certify II have read
                    read and            Signed (Self-Represented Plaintiff)
                                                                 Plaintiff)                                                    Date                     Docket Number
                                                                                                                                                        Docket Number
 understand the above:
                                                                                          (Page 11 of 2)
            Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 3 of 9


RETURN DATE:
       DATE: February 20, 2018

SCOTT MONROE                           :      SUPERIOR COURT

VS.                                    :      HARTFORD JUDICIAL DISTRICT

J.H.O.C., INC. d/b/a PREMIER
TRANSPORTATION                         :      JANUARY 23, 2018

                                           COMPLAINT

       1.
       1.       Plaintiff Scott Monroe was and is a citizen of the State of Connecticut residing in

the Town of Windsor Locks.

       2.       Defendant J.H.O.C., Inc. was and is corporation organized and existing under the
I                                                          I


laws of the State of Alabama with a principal place of business located at 323 Cash Memorial

                                30297.
Boulevard, Forest Park, Georgia 30297.

       3.
       3.      Defendant does business as Premier Transportation.

       4.      Defendant owns and operates a facility located at 129
                                                                 129 West Dudley Town Road,

Bloomfield, Connecticut 06002.

       5.
       5.      Defendant hired plaintiff in June 2008.

       6.      Plaintiffs job position was truck driver.

       7.      Plaintiff was qualified for the job.

       8.      Plaintiff performed his job at or above a satisfactory level.

       9.      Defendant employs Dan Gardner.

       10.
       10.     Gardner is a dispatcher.

       11.
       11.     Gardner was not properly recording plaintiffs work time.

       12.
       12.     Because Gardner was not properly recording plaintiffs work time; plaintiff was

not being paid for certain time worked.




                                                 11
          Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 4 of 9


       13.
       13.     In December 2015, plaintiff complained, multiple times, to the defendant that his

work time was not being accurately recorded and thus was not being paid for all the time

worked.

       14.
       14.     On January 27, 2016, Gardner left plaintiff a message stating that he had missed a

random drug test.

       15.
       15.                        Gardner’s message by calling him.
               Plaintiff returned Gardner's                    him.

       16.
       16.     Plaintiff reached Gardner by phone and asked Gardner what drug test.

       17.
       17.     Gardner told plaintiff that he was supposed to a take a drug test a week ago.

       1$.
       18.     Plaintiff told Gardner that he was never notified about the drug test.

       19.
       19.     Gardner said it must have been a miscommunication between himself and the

plaintiff and that the plaintiff should take the drug test at Concentra in Windsor, Connecticut on

January28,
January 28, 2016.

       20.     Plaintiff returned to Connecticut at or about 3:00 am on January 28, 2016.

       21.     Around 8:30 am, plaintiff was getting ready to go to Concentra when he received

a telephone call Bill Lang.

       22.             defendant’s president.
               Lang is defendant's

       23.     Lang told plaintiff that Gardner stated that plaintiff had refused to take a drug test.

       24.     Plaintiff told Lang that he never refused a drug test, that he had spoked to Gardner

and that he was going now to take the drug test.

       25.     Lang told plaintiff not to go over to the facility yet to get tested and he will call

him back.

       26.
       26.           10 minutes later, Lang called plaintiff back and stated that plaintiff had
               About 10

been told to get drug tested a week ago, that plaintiff did not go, and he was being let go.



                                                   2
            Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 5 of 9



         27.   Plaintiff told Lang that it is hard to go to something that you are not notified

about.

         28.   Lang told plaintiff that he failed to follow the DOT regulation by refusing to take

the test.

         29.   Plaintiff has driven trucks for a living for years.

         30.   Plaintiff has always submitted to random drug tests.

         31.   Plaintiff has always past the drug tests.

         32.   Plaintiff filed for unemployment benefits after defendant terminated his

employment.

         33.
         33.   Defendant objected to plaintiffs claim for unemployment benefits.

         34.
         34.   At the unemployment hearing, Gardner testified that he told plaintiff on January

21 while plaintiff was at the home terminal to go take a random drug test.
21

         35.   The home terminal was Bloomfield, Connecticut.

         36.   Plaintiff was not present at the home terminal on January 21.

         37.   Plaintiff was in North Bergen, New Jersey on January 21.
                                                                    21.

         38.   Defendant failed to provide the Connecticut Department of Labor with a copy of

its drug testing policy and failed to provide the Connecticut Department of Labor with a

                                           Questionnaire.
completed UC 843, Drug and Alcohol Testing Questionnaire.

         39.   Defendant terminated plaintiff because plaintiff complained about not having all

of his time worked recorded and not being paid wages for all the time worked.

         40.   Defendant’s explanation for the termination is a pretext to mask the unlawful
               Defendant's

motivating reason.




                                                  3
                                                  3
         Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 6 of 9




                                        FIRST COUNT
                                    (FLSA - RETALIATION)
                                             -




       1.
       1.                                                                               1-40 as
               Plaintiff repeats and re-alleges the allegations set forth in Paragraphs 1-40

       fuiiy set forth herein.
though fully

       41.                              plaintiffs employment in retaliation for the plaintiff
               Defendant terminated the plaintiff's

notifying the defendant that he was not having all his work time documented and that he was not

being paid wages for the time he worked.

       42.
       42.                                                  1 5(a)(3) of the FLSA (29 U.S.C. §§
               Defendant violated the provisions of Section 15(a)(3)

                                                                                       Act.
215 (a)(3)) by retaliation against plaintiff for exercising rights protected under the Act.

       43.
       43.                                willful.
               Defendants retaliation was willful.
               Defendant's

       44.
       44.     As a result of the retaliation, plaintiff is entitled to damages as set forth in the

FL$A, more specifically 29 U.S.C. §§ 215(a)(3);
FLSA,                                215(a)(3); 29 U.S.C.    2 16(b).
                                                   U.S.C. §§ 216(b).

                                    SECOND COUNT
                    (Wrongful Discharge in Violation of Important Public Policy)

       1.
       1.                                                                               1-44 as
               Plaintiff repeats and re-alleges the allegations set forth in Paragraphs 1-44

                       herein.
though fully set forth herein.

       45.
       45.     Connecticut’s Wage and Hour Law, C.G.S. §31-58 et
               Connecticut's                                  etseq.
                                                                 seq. embodies a strong

public policy of ensuring that workers have all their work time recorded by their employers and

that they are paid for the all the worked.

       46.
       46.     By internally complaining to the defendant about his work time not being fully

recorded and not being paid for all the time he worked, plaintiff was reporting to the defendant of

a violation or suspected violation of Connecticut state law.




                                                   4
        Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 7 of 9



       47.    Defendant terminated plaintiffs employment in retaliation for internally

                                                        Connecticut’s Wage and Hour Law,
complaining about a violation or suspected violation of Connecticut's

C.G.S. §31-58 et
C.G.S.        etseq.
                 seq.

       48.
       48.    As a result of the wrongful discharge, plaintiff suffered harms and losses.




                                               5
                                               5
          Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 8 of 9


                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiff prays for appropriate damages including:
                                                           including: compensatory

damages; damages for back pay, front pay, bonuses, personal days, lost
damages;

pensionlemployee/retirement benefits, emotional distress; reasonable attorneys'
pension/employee/retirement              ,                           attorneys’ fees; costs;
                                                                                      costs;

consequential damages; interest; prejudgment interest; post judgment interest;
                                                                     interest; damages under the

FLSA, 29 U.S.C. §§ 215(a)(3); 29 U.S.C. §§ 216(b);
                                           2 16(b); for an injunction requiring the removal of any

and all adverse information contained in plaintiff's
                                         plaintiffs personnel file;
                                                              file; for a trial by jury; and for all

other just and proper relief.
                      relief.

        Hereof fail not but of this writ with your doings thereon make due se
                                                                           s       ce and

return according to law.

        Dated at Newington, Connecticut this 23'1 day of Januuy, 2018.



                                                 Jamesy.. Sabatini, Esq. ,
                                                 James
                                                 S                   ASS CIATES ,LLC
                                                        TINI AND ASSOCIATES       LC
                                                      arket  Square
                                             1/ 1 ewington, CT 06111
                                                                   06111
                                                       No.: (860) 667-0839
                                                   el. No.:
                                                       No.: (860) 667-0867
                                                 Fax No.:
                                                 Email: jsabatini@sabatinilaw.com
                                                Juris No. 052654

Please file our appearance
on behalf of the Plaintiff.


James Sabatini




                                                    6
Case 3:18-cv-00299-KAD Document 1-1 Filed 02/20/18 Page 9 of 9




            STATEMENT OF AMOUNT IN DEMAND

          The amount in demand is greater than $15,000.00

                  exclusive of attorneys and costs.




                                 7
